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                                               UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF KENTUCKY
                                                       AT LOUISVILLE
                                                     (Electronically Filed)

                         NO. 3:23CR-11-DJH
                         UNITED STATES OF AMERICA,                                                   PLAINTIFF,


                         vs.


                         JOSEPH STARLING,                                                          DEFENDANT.


                                               UNOPPOSED MOTION TO CONTINUE


                                Comes the defendant, by counsel, and moves this Honorable Court to continue the

                         trial of the above-styled action currently scheduled for May 22, 2023.

                                As grounds for said motion, defense counsel states that additional time is necessary

                         to properly investigate the case, fully advise the defendant, and to conduct          plea

                         negotiations. Counsel is authorized to state that the United States is unopposed to this

                         motion.


                                                                   /s Patrick J. Bouldin
                                                                   Assistant Federal Defender
                                                                   629 S. Fourth Street
                                                                   200 Theatre Building
                                                                   Louisville, Kentucky 40202
                                                                   (502) 584-0525
                                                                   Counsel for Defendant




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                                                             CERTIFICATE

                                I hereby certify that on April 19, 2023, I electronically filed a copy of the foregoing
                         with the clerk of the court by using the CM/ECF system, which will send a notice of
                         electronic filing to the attorneys of record.


                                                                    /s Patrick J. Bouldin




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